           Case 3:21-cv-08458-LB Document 54 Filed 12/11/22 Page 1 of 1




Case number: 3:21-cv-08458-LB Jackson v Target Corporation

Dear Hon. Judge,

I would like to file this motion to Take Deposition on the Defendant (Target Corporation) and
“ALL” the Defendant’s (Target Corporation) Witnesses.

I would like to complete all Depositions before the end of February 28th, 2023.

I also need the Court to consider, appointing me a FREE counsel because I am NOT an attorney, I am
only a PRO SEE who needs help preparing for this trial and for trying this case against the defendant who
has a wealth of legal expert.

I am not working and do NOT have the financial to hire a lawyer to help me with this case therefore I am
asking you to please appoint me a free attorney.



Bryon Jackson, PRO SE
